                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

                              CRIMINAL MINUTES – JURY TRIAL
                                                    Day 1

  Case No.: 4:18CR00011                                        Date: 10/7/2019


  Defendant:                                                Counsel:
  4:18-cr-00011-MFU-RSB-1 Marcus Jay Davis                  Tony Anderson, Bev Davis
  4:18-cr-00011-MFU-RSB-2 Kevin Lamont Trent, Jr.           Aaron Cook, Jimmy Turk
  4:18-cr-00011-MFU-RSB-3 Kanas Lamont'e Trent              Bonnie Lepold, Mike Hemenway
  4:18-cr-00011-MFU-RSB-4 Deshaun Lamar Trent               Chris Kowalczuk, Patrick Kenney
  4:18-cr-00011-MFU-RSB-5 Phillip Daekwon Miles             Tyson Daniel, Cary Bowen
  4:18-cr-00011-MFU-RSB-6 Shabba Larun Chandler             Aaron Houchens, Jeff Dorsey
  4:18-cr-00011-MFU-RSB-8 Ashley Tiana Ross                 Terry Grimes
  (bond)
  4:18-cr-00011-MFU-RSB-10 Tenikqua Fuller (bond)           Corey Diviney




  PRESENT:       JUDGE:                   Michael F. Urbanski, CUSDJ
                 TIME IN COURT:           9:25-11:15; 11:36-3:02; 3:25-5:03 6h 54m
                 Deputy Clerk:            Kristin Ayersman
                 Court Reporter:          Judy Webb
                 U. S. Attorney:          Heather Carlton, Ron Huber, Michael Newman
                 USPO:                    Kim Falatic
                 Case Agent:              Devin Taylor, FBI, Officer
                 Interpreter:             none


                                         LIST OF WITNESSES

      GOVERNMENT                                            DEFENDANT
    1.                                                 1.




  PROCEEDINGS:
       Panel 1 – 19 present jurors present and sworn on Voir Dire. Collective voir. US moves
       for warrant re witness Bowens who did not appear on subpoena today – clerk to issue
       warrant. US states dft Chandler omitted from Cts 10 and 11. Recess 11:15 Reconvene
       11:36 Collective voir dire continued. Individual voir dire. Recess 3:02 Reconvene 3:25



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          Court addresses US Witness Ms. Wilson – she is not released from her subpoena and will
          be told when she will need to appear. Court addresses parties re plan for rest of jury
          panels for the remainder of the week. Challenges for cause will be taken daily. No
          objection from defense counsel/US to the panel plan. Individual voir dire continued.
          Jurors return to courtroom for dismissal 4:21. Court addresses panel – those who need to
          come back will be contacted and told when to report. Jurors dismissed 4:26. Jurors called
          back – court addresses jurors about no reading, discussing, researching, communication
          re case. Court orders media not to report anything personal about any juror, or anything
          that is said here re strikes. Strikes for cause taken. Court minds US to provide
          information to court re video. Court addresses member of press re juror information.
          Recess 5:03
          8 struck jurors struck for cause.
          # struck jurors struck by Government.
          # struck jurors struck by Defendant.
          # jurors sworn member jury impaneled and sworn. Remaining jurors discharged.
          Preliminary remarks and instructions to jury by Court.
          United States of America or Defendant makes oral Motion to Exclude Witnesses from
          Courtroom. Court grants motion.
          Opening Statements by counsel.
          Government presents evidence.
          Government rests.
          Defendant makes Motion for Judgment of Acquittal.
          Court      grants     denies      takes under advisement.
          Defendant presents evidence.
          Defendant rests.
          Defendant renews Motion for Judgment of Acquittal.
          Court      grants     denies      takes under advisement.
          Rebuttal evidence.
          Surrebuttal evidence.
          Closing Arguments.
          Jury Instructions given to Jury.
          Objections to Jury Instructions by U.S.A and/or Defendant.
          Court      overrules      grants.
          Jury retires to deliberate at Time retired.
          Jury returns at Time returned.
          Jury Verdict: Verdict?
                   Jury polled.                            Polling waived.
                   Mistrial declared.                      Jury discharged.

          Motions after verdict:
          Sentencing set for ______..
          Sentencing to be set by Clerk.
          Court orders Presentence Report.
          Defendant remanded to custody.
          Defendant to remain on bond.


  Additional Information:
  Court addresses parties re motions filed 10/6/19 re discovery. US has not responded to the
  motion yet. Court asks US to address now. Court directs US to provide to the court, copies of
  any interviews, or summaries, of Deshawn Anthony, and is to inform court what may be
  material. Court doesn’t need to hear response from dfts as those have been filed. US would like
  to release a witness, and notes there are a few no shows, asks that those four who did appear will
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        to be reminded that they willDocument    890 Filed
                                      need to reappear when 10/07/19     Page 2for
                                                             advised – released   of today
                                                                                      3 Pageid#:
                                                                                           but not 5953
  from subpoena. US will ask for warrants on no shows. Mr. Anderson states that one of the no
  shows is supposed to be on her way here now, and states that Deshawn Anthony may be called
  by defense. Mr. Kowalczuk addresses issues. Mr. Cook notes his motion was granted re USMS –
  court addresses. Mr. Cook notes objection for the record. Court overrules objection as stated.
  Mr. Hemenway notes articles in local papers that were inflammatory and should be addressed
  during voir dire. US would like to address corrections to preliminary jury instructions – Mr.
  Chandler has been omitted from cts 10 and 11. US states that Ms. Rottenborn and Mr. Baudinet
  are not appearing in the case. Jury enters courtroom 10:01.




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